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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                 Case No.: 8:23-cr-411-KKM-NHA

ABRAHAM OTHMAN YACOUB



                      REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me, pursuant to Federal Rule

of Criminal Procedure 11 and Middle District of Florida Local Rule 1.02, and has

entered a plea of guilty to Counts One and Two of the Indictment.

      After cautioning and examining the Defendant under oath concerning each of

the subjects mentioned in Rule 11, I find that he is entering his guilty pleas knowingly

and voluntarily, and that each of the essential elements of the offenses charged is

supported by an independent factual basis. I, therefore, recommend that pleas of guilty

be accepted and that Defendant be adjudged guilty and have sentence imposed

accordingly.

      DONE and ORDERED in Tampa, Florida, on April 10, 2024.
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                              NOTICE TO PARTIES

A party has fourteen days from this date to file written objections to the Report and

Recommendation’s factual findings and legal conclusions. A party’s failure to file

written objections waives that party’s right to challenge on appeal any unobjected-to

factual finding or legal conclusion the district judge adopts from the Report and

Recommendation. See 11th Cir. R. 3-1.




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